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 4   Telephone: (916) 554-2790
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) CR S-06-455-WBS
                                   )
12                     Plaintiff, ) STIPULATION AND [PROPOSED] ORDER
                                   ) RESETTING STATUS CONFERENCE,
13                v.               ) AND EXCLUDING TIME UNDER THE
                                   ) SPEEDY TRIAL ACT
14   JAY SAYARATH,,                )
     SUE HER,                      )
15   TONY KETMANY, and             )
     KHANTHY VONGSEDONE            )
16                                 )
                       Defendants. )
17   _____________________________)
18        The United States of America, through its counsels of record,
19   McGregor W. Scott, United States Attorney for the Eastern District
20   of California, and Jill M. Thomas, Assistant United States Attorney,
21   and defendants, KHANTY VONGSEDONE, through his attorney of record,
22   Christopher Haydyn-Myer, Attorney at Law, SUE HER, through his
23   attorney of record, Shari Rusk, and TONY KETMANY, through his
24   attorney of record, J. Toney, hereby stipulate and agree that the
25   status conference set for May 5, 2008, be continued to June 16,
26   2008, at 8:30 a.m.
27        The parties are working on a resolution, and counsel needs
28   additional time for preparation.      Therefore, the parties have agreed

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 1   and respectfully request that the Court set the date of June 16,
 2   2008 at 8:30 a.m., for the status conference.
 3        Accordingly, the parties stipulate that time be excluded
 4   pursuant to 18 U.S.C. § 3161(h)(1)(F) and Local Code T4, United
 5   States Code section 3161(h)(8)(B)(iv), to give the defendants time
 6   to further review the discovery and to adequately prepare.
 7   IT IS SO STIPULATED.
 8                                            McGREGOR W. SCOTT
                                              United States Attorney
 9
     Dated: May 2, 2008         By:   /s/ Jill M. Thomas
10                                         JILL M. THOMAS
                                           Assistant U.S. Attorney
11                                         Attorney for Plaintiff
12
13   DATED: May 2, 2008         By:   /s/ Christopher Haydn-Myer
                                           CHRISTOPHER HAYDN-MYER
14                                         Attorney for Defendant
                                           KHANTY VONGSEDONE
15
     DATED: May 2, 2008         By:   /s/ Shari Rusk
16                                         SHARI RUSK
                                           Attorney for Defendant
17                                         SUE HER
18
     DATED: May 2, 2008         By:   /s/ J. Toney
19                                         J.TONEY
                                           Attorney for Defendant
20                                         TONY KETMANY
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 1                                         ORDER
 2        UPON GOOD CAUSE SHOWN and by stipulation of all parties, it is
 3   hereby ordered that this matter be set for further status conference
 4   as set forth above.
 5        The Court finds excludable time as set forth above to and
 6   including June 16, 2008
 7        IT IS SO ORDERED.
 8   DATED:    May 2, 2008
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